CaSe 4215-CV-14255-LVP-PT|\/| ECF NO. 59 filed 06/28/18 Page|D.2439 Page 1 Of 4

JOHNSON, ROSATI, SCHULTZ & JOPPICH, P.C.
27555 Executive Drive, Suite 250
Farmington Hii|s, MI 48331
(248) 489-4100 Tax ID# XX-XXXXXXX

June 27, 2018

Bay County

515 Center Avenue

Suite 402

Bay City, MI 48708-5125

Attn: Attorney Amber Davis-Johnson

In Reference To: Robert Lee vs. Bay County, et al
DOL: 12/7/15
Matter No.: 60884
C|aim No.: 1600488

Professionai Services

Hours Amount

5/13/2017 DAK Preparation of Motion for Summary 5.50

Disposition and Brief in Support $150.00 $825.00
6/2/2017 DAK Preparation of Statement of Facts of Brief 3.20

in Support of Motion for Summary $150.00 $480.00

Judgment
6/5/2017 DAK Continued preparation of Brieic in Support 3.80

of Motion for Summary Judgment $150.00 $570.00
6/6/2017 DAK Continued preparation of Brief in Support 4.90

of Motion for Summary Judgment $150.00 $735.00
6/8/2017 DAK Continued preparation of Brief in Support 3.10

of Motion for Summary Judgment $150.00 $465.00
6/9/2017 DAK Continued preparation of Brief in Support 3.90

of Motion for Summary Judgment $150.00 $585.00

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Bay County Page 2
Hours Amount
6/12/2017 DAK Continued preparation of Brief in Support 4.30
of Motion for Summary Judgment; $150.00 $645.00

Preparation of exhibits; Review of Judge
Parker Motion Practice Requirements

6/13/2017 DAK Continued preparation of Motion for 7.60
Summary Judgment and Brief in Support $150.00 $1,140.00
6/14/2017 DAK Preparation of Judge's copy of Motion for 0.60
Summary Judgment $150.00 $90.00
6/15/2017 KGG Receipt/Review of Notice from Court 0.10
regarding filing of Motion for Summary $150.00 $15.00
Judgment
KGG Receipt/Review of Notice from Court 0.10
regarding filing of Inde)< of Exhibits to $150.00 $15.00
Motion for Summary Judgment
KGG Receipt/Review of Notice from Court 0.10
regarding Certificate of Service for Exhibits $150.00 $15.00
to Motion for Summary Judgment
7/18/2017 DAK Receipt/Review of Plaintiff‘s Response to 0.70
Defendant's Motion for Summary $150.00 $105.00

Judgment; Review of Court's Docket to
verify accuracy of filing

7/19/2017 KGG Research Regarding Ru|e 11 Motion 0.90
$150.00 $135.00

7/21/2017 DAK Receipt/Revievv of Plaintiff‘s Motion to Fi|e 0.30

Additional Pages in Response Brief $150.00 $45.00
7/28/2017 KGG Receipt/Review of Notice from Court 0.10

regarding filing of Plaintiff‘s First Response $150.00 $15.00

to Motion for Summary Judgment
7/31/2017 KGG Receipt/Review of Notice from Court 0.10

regarding Plaintiff‘s filing of Second Amended $150.00 $15.00

Response to Motion for Summary Judgment

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Bay County
7/28/2017 KGG

7/31/2017 KGG

8/16/2017 DAK
8/29/2017 KGG
8/30/2017 KGG
9/6/2017 DAK

9/8/2017 DAK
9/11/2017 DAK

9/13/2017 DAK

9/13/2017 KGG

9/14/2017 DAK

Receipt/Review of Notice from Court
regarding filing of Plaintiff‘s First Response
to Motion for Summary Judgment

Receipt/Review of Notice from Court
regarding Plaintiff‘s filing of Second
Amended Response to Motion for Summary
Judgment

Receipt/Review of Response to Plaintiff‘s
Motion for Summary Judgment and
multiple exhibits referenced as attachments

Continued review of Plaintiff‘s First
Amended Response to Motion for Summary
Judgment

Receipt/Review of Plaintiff‘s Second
Amended Response to Motion for Summary
Judgment

Continued review of Plaintiff‘s Response to
Defendant's Motion for Summary
Judgment; Begin preparation of Reply Brief
Continued preparation of Reply Brief
Preparation of Motion for Sanctions and

Brief in Support

Continued review of Plaintiff‘s Response to
Defendant's Motion for Summary

Judgment; Continued preparation of Reply Brief

Edit/revise Reply Brief

Continued preparation of Motion for
Sanctions and Brief in Support

Page
Hours
0.10
$150.00

0.10
$150.00

6.80
$150.00

0.90
$150.00

0.30
$150.00

3.80
$150.00

5.90
$150.00

1.70
$150.00

2.10
$150.00
0.20
$150.00

1.90
$150.00

3

Amount

$15.00

$15.00

$1,020.00

$135.00

$45.00

$570.00

$885.00

$255.00

$315.00

$30.00

$285.00

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Bay County
Hours Amount
11/3/2017 KGG Receipt/Review of Notice from Court 0.10
regarding filing of Motion for Sanctions $150.00 $15.00
DAK Edit/Revise Motion for Sanctions to 0.30
prepare for filing $150.00 $45.00
11/16/2017 KGG Review of Order Extending Deadline for 0.10
Plaintiff‘s Response to Motion for Sanctions $150.00 $15.00
12/19/2017 KGG Review of Plaintiff‘s Response to Motion for 0.20
Sanctions $150.00 $30.00
12/29/2017 KGG Correspondence to and from Corporation 0.20
Counsel regarding Motion granted $150.00 $30.00
For professional services rendered 63.80 $9,570.00
Additional Charges :
Qty/Price
6/15/2017 Photocopies - Motion for Summary Judgment 645
0.20 $129.00
7/28/2017 Photocopies - Plaintiff‘s Response to Motion 44
for Summary Judgment 0.20 $8.80
7/31/2017 Photocopies - Plaintiff‘s Amended Response to 411
Motion for Summary Judgment with Exhibits 0.20 $82.20

Total costs $220.00

